             Case 24-90505 Document 313 Filed in TXSB on 10/22/24 Page 1 of 3




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                          :
    In re:                                                : Chapter 11
                                                          :
    RED RIVER TALC LLC, 1                                 : Case No. 24-90505 (CML)
                                                          :
             Debtor.                                      :
                                                          :

                            THE UNITED STATES TRUSTEE’S
              NOTICE OF APPOINTMENT OF COMMITTEE OF TALC CLAIMANTS

TO THE HONORABLE CHRISTOPHER M. LOPEZ
UNITED STATES BANKRUPTCY JUDGE:

             COMES NOW Kevin M. Epstein, the United States Trustee for Region 7 (Southern and
Western Districts of Texas), pursuant to 11 U.S.C. § 1102(a)(1), hereby appoints the following
eligible creditors to the Official Committee of Talc Claimants in this case:
                        Members
    Rebecca J. Love DDS
    c/o Michelle Parfitt, Bryant Mc Culley, and
    Stuart McCluer
    1825 K Street NW, Ste. 700
    Washington, DC 20006
    (202) 783-6400
    mparfitt@ashcraftlaw.com
    bmcculley@ashcraftlaw.com
    smccluer@ashcraftlaw.com

    Dr. Tina Lynch
    c/o Warren T. Burns
    Burns Charest LLP
    900 Jackson St., Ste. 500
    Dallas, TX 75202
    (469) 904-4550
    wburns@burnscharest.com

    Nancy C. Hicks
    c/o John R. Bevis

1
        The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
501 George Street, New Brunswick, New Jersey 08933.
      Case 24-90505 Document 313 Filed in TXSB on 10/22/24 Page 2 of 3




31 Atlanta St
Marietta, GA 30060
(770) 778-7589
bevis@barneslawgroup.com

Deborah Schultz
c/o Mark P. Robinson, Jr.
19 Corporate Plaza Drive
Newport Beach, CA 92660
(949) 720-1288
Mrobinson@robinsonfirm.com

Erika Tarlow
c/o Christopher R. LoPalo
Napoli Shkolnik
1302 Ave. Ponce de Leon
San Juan, P.R. 00907
(212) 397-1000
clopalo@nsprlaw.com

Kim Carney
c/o James G. Onder
110 E. Lockwood Ave.
Saint Louis, MO 63119
(314) 963-9000
onder@onderlaw.com

Kellie R. Brewer
c/o Nabil Majed Nachawati
5489 Blair Road
Dallas, TX 75231
(214) 461-6170
mn@ntrial.com

Kevin Nesko
c/o Christopher M. Placitella
127 Maple Ave.
Red Bank, NJ 07701
(732) 747-9003
cplacitella@cprlaw.com

Rhonda McKey
c/o Anne Andrews
4701 Von Karman Aven., Ste. 300
Newport Beach, CA 92660
(949) 748-1000
aa@andrewsthornton.com
        Case 24-90505 Document 313 Filed in TXSB on 10/22/24 Page 3 of 3




 Patricia Ann Weth
 c/o Jeff T. Seldomridge
 108 Railroad Ave.
 Orange, VA 22960
 (866) 529-3323
 jseldomridge@millerfirmllc.com

 Blue Cross Blue Shield of Massachusetts
 c/o Elizabeth Carter
 Hill Hill Carter Franco Cole & Black PC
 425 S. Perry St.
 Montgomery, AL 36104
 (334) 386-4337
 ecarter@hillhillcarter.com



Dated: October 22, 2024                        KEVIN M. EPSTEIN
                                               UNITED STATES TRUSTEE
                                               REGION 7

                                               By: /s/ Jayson B. Ruff
                                               Jayson B. Ruff
                                               Trial Attorney
                                               Michigan Bar No. P69893
                                               Office of the United States Trustee
                                               515 Rusk Avenue, Suite 3516
                                               Houston, TX 77002
                                               (713) 718-4662
                                               Jayson.b.ruff@usdoj.gov

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants who have requested notice on this 22nd day of October 2024.

                                             /s/Jayson B. Ruff
                                             Jayson B. Ruff
